                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                        at CHATTANOOGA



UNITED STATES OF AMERICA,                                )
                                                         )
                                                         )
                                                         )             No. 1:05-CR-72
v.                                                       )
                                                         )             Judge Curtis L. Collier
                                                         )
FREDYS RODRIGUEZ,                                        )
                                                         )
                 Defendant.                              )


                                 MEMORANDUM & ORDER



         Before the Court is Defendant Fredys Rodriguez’s (“Defendant”) Motion and Memorandum

to Certify Case as Complex Pursuant to 18 U.S.C. § 3161 and/or Motion to Continue all Relevant

Dates (Court File No. 30). The Government notified the Court it did not object to continuing the

dates in the scheduling order, but did not otherwise respond to this motion.

         Under the Speedy Trial Act, a defendant must be tried or enter a plea of guilty within seventy

days “of the information or indictment, or from the date the defendant has appeared before a judicial

officer of the court in which the charge is pending, whichever date last occurs.”

18 U.S.C. § 3161(c)(1). The Speedy Trial Act authorizes the Court to grant delays where the Court

finds that the ends of justice served by granting the continuance outweigh the best interests of the

public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).1 Section 3161(h)(8)(A)


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         The following periods of delay shall be excluded in computing the time within which an information or an
indictment must be filed, or in computing the time within which the trial of any such offense must commence:
         ...
        (A) Any period of delay resulting from a continuance granted by any judge on his own motion or at the request



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requires the Court make a finding after carefully considering and balancing multiple factors,

including those factors listed in that section. These factors include whether “the case is so unusual

or so complex, due to the number of defendants, the nature of the prosecution, or the existence of

novel questions of fact or law, that it is unreasonable to expect adequate preparation for pretrial

proceedings or for the trial itself within the time limits established by this section.” 18 U.S.C. §

3161(h)(8)(B)(ii).

         In support of his contention this case is complex, Defendant cites the following: (1) Prior to



of the defendant or his counsel or at the request of the attorney for the Government, if the judge granted such continuance
on the basis of his findings that the ends of justice served by taking such action outweigh the best interest of the public
and the defendant in a speedy trial. No such period of delay resulting from a continuance granted by the court in
accordance with this paragraph shall be excludable under this subsection unless the court sets forth, in the record of the
case, either orally or in writing, its reasons for finding that the ends of justice served by the granting of such continuance
outweigh the best interests of the public and the defendant in a speedy trial.

        (B) The factors, among others, which a judge shall consider in determining whether to grant a continuance under
subparagraph (A) of this paragraph in any case are as follows:

          (i) Whether the failure to grant such a continuance in the proceeding would be likely to make a continuation
of such proceeding impossible, or result in a miscarriage of justice.
                 (ii) Whether the case is so unusual or so complex, due to the number of
      defendants, the nature of the prosecution, or the existence of novel questions of fact or
      law, that it is unreasonable to expect adequate preparation for pretrial proceedings or for
      the trial itself within the time limits established by this section.
                 (iii) Whether, in a case in which arrest precedes indictment, delay in the filing
      of the indictment is caused because the arrest occurs at a time such that it is unreasonable
      to expect return and filing of the indictment within the period specified in section 3161(b),
      or because the facts upon which the grand jury must base its determination are unusual
      or complex.
                 (iv) Whether the failure to grant such a continuance in a case which, taken as a
      whole, is not so unusual or so complex as to fall within clause (ii), would deny the
      defendant reasonable time to obtain counsel, would unreasonably deny the defendant or
      the Government continuity of counsel, or would deny counsel for the defendant or the
      attorney for the Government the reasonable time necessary for effective preparation,
      taking into account the exercise of due diligence.

      (C) No continuance under subparagraph (A) of this paragraph shall be granted because of general
congestion of the court's calendar, or lack of diligent preparation or failure to obtain available witnesses
on the part of the attorney for the Government.

18 U.S.C. §§ 3161(h)(8)(A)-(C).


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his present incarceration, Defendant resided in Syracuse, New York, spent significant amounts of

time in New York City, and has no connections to this district; (2) all events relevant to Defendant,

including his arrest, took place in the Manhattan, New York area; (3) Defendant (and his family

members) speak little or no English and requires an interpreter for all attorney/client conferences;

(4) Defense counsel believes he will require a Spanish-speaking investigator to investigate certain

facts in the New York City area; and (5) Defendant has yet to receive any discovery specific to him

although it was due on August 5, 2005 (Court File No. 30). Defendant also relies on the affidavit

in support of an arrest warrant by David H. Shelton (Court File No. 30, Exh. 1) which provides the

Government’s theory of the case, arguing it suggests the complexity of the case that is the partial

basis of his motion.

        The Court finds the issues and facts enumerated by Defendant do not render this case an

unusually complex one. While the prosecution will require defense counsel to investigate various

facts relevant to the alleged conspiracy in a state in which he is not located, the Court finds this fact

alone does not render the prosecution a complex one. Defendant is charged with one count of

conspiracy to distribute five kilograms or more of a mixture and substance containing cocaine

hydrochloride, in violation of 21 U.S.C. §§ 846 and 841(a)(1) and (b)(1)(A), and one count of

possession with the intent to distribute five kilograms or more of a mixture and substance containing

cocaine hydrochloride, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A) (see Court File No. 14,

Indictment). Defendant has not pointed to anything, other than the fact Defendant’s alleged

participation in any conspiracy took place in a location some distance from this district, that would

differentiate his case from the ordinary drug conspiracy case. The Court has reviewed the affidavit

in support of an arrest warrant by David H. Shelton, and finds the alleged facts as laid out therein


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describe a traffic stop, search of a vehicle, discovery of drugs therein, and statement by a co-

defendant, Teodoro Gonzalez, about a planned drug deal that led police officers to arrest Defendant

in New York (Court File No. 30, Exh. 1). The Court finds nothing in these allegations that would

make it unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself

within the time limits established by the Speedy Trial Act. See 18 U.S.C. § 3161(h)(8)(B)(ii).

       Therefore, the Court DENIES Defendant’s motion to declare his case complex (Court File

No. 30).

       The Court also DENIES Defendant’s alternative motion to Continue all Relevant Dates

(Court File No. 30).

        Counsel for Defendant states he had not received discovery from the Government prior to

filing his motion, and even if it were provided prior to the scheduled motion deadline, he would not

have time to analyze the information, which he expects will include taped phone conversations in

Spanish and phone records, formulate appropriate defense theories, and file relevant motions. The

government does not oppose such a continuance. However, it is not clear to the Court the

Government actually has any discovery materials to give to the Defendant. The Court will not grant

this motion based purely on speculation.

       If the Government has not already done so, it is hereby ORDERED to produce all discovery

that was due to Defendant as of August 5, 2005 (see Court File No. 25, Modified Discovery and

Scheduling Order). If, after reviewing any such discovery and planning for trial, Defendant finds

he will need more time to adequately prepare for trial, he may make another motion for the Court

to consider at such time.




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    SO ORDERED.

    ENTER:



                                                    /s/
                                             CURTIS L. COLLIER
                                        UNITED STATES DISTRICT JUDGE




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